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                                                     UNITED STATES DISTRICT COURT
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                                                            DISTRICT OF NEVADA
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                                                                         2:10-CR-454 JCM (GWF)
                  8     UNITED STATES OF AMERICA,

                  9                       Plaintiff(s),
                10      v.
                11
                        FRANCISCO GARCIA, ELOY
                12      GARCIA, EFRAIN GARCIA, and
                        NABOR GARCIA,
                13
                14                        Defendant(s).

                15
                16                                                    ORDER
                17              Presently before the court is defendant Nabor Garcia’s motion for return of property. (Doc.
                18    # 163).
                19              On February 2, 2012, the defendant was sentenced to 24 months custody followed by three
                20    years of supervised release. The defendant has completed his term of incarceration and is presently
                21    serving his term of supervised release.
                22              In the instant motion defendant seeks the return of his passport, which is currently in the
                23    possession of pretrial services. Defendant represents that he has family in Mexico and would like
                24    to visit them after the completion of his supervised release or at some point during the term of his
                25    supervised release.
                26              The court finds no justification for returning defendant’s passport to him at this time. As he
                27    acknowledges in his motion, any travel out of the country while on supervised release would require
                28
James C. Mahan
U.S. District Judge
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                  1   the permission of the probation department. If the defendant so desires to travel to Mexico, he may
                  2   request his passport at the same time he requests permission to travel.
                  3          Accordingly,
                  4          IT IS HEREBY ORDERED, ADJUDGED, and DECREED that defendant’s motion for
                  5   return of property (doc. # 163) be, and the same hereby is, DENIED.
                  6          DATED May 14, 2014.
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                                                            UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                  -2-
